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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA               :
                                       :        CRIMINAL NO. 3:16CR12(SRU)
             v.                        :
                                       :
KOWIT YUKTANON                         :        October 24, 2016

                                Restitution Order

      Pursuant to 18 U.S.C. § 3663A, it is hereby ordered that the defendant, Kowit

Yuktanon, shall pay restitution in the total amount of $2,390,496.59. To the extent

that restitution orders are issued against Mr. Yuktanon’s co-defendants in the

above-captioned case, restitution is to be joint and several in the full amount among

all of those co-defendants—Aria Maleki, Mehdi Moarefian, Daniel Shiau, Serj

Geutssoyan, Cuong Huy King, and Michelle Lefaoseu.

      Restitution shall be paid on a pro rata basis to the victims identified in the

list filed under seal as Exhibit A.   The total amount of restitution is due and

payable immediately pursuant to 18 U.S.C. § 3572(d)(1).            Any unpaid amount

remaining upon the defendant’s release from prison shall be paid in installments of

not less than $500 per month, payable on the first day of each month. All interest is

waived pursuant to 18 U.S.C. § 3612(f)(3)(A).

      The defendant shall make payment to the Clerk of Court. Payment may be

made in the form of cash, check or money order. All payments by check or money

order shall be made payable to the “Clerk, United States District Court,” and each

check shall be delivered to the United States District Court, Attention: Clerk’s
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Office, 915 Lafayette Boulevard, Bridgeport, Connecticut 06604, as required by 18

U.S.C. § 3611. The defendant shall write the docket number of this case on each

check delivered to the Clerk’s Office. Any cash payments shall be hand delivered to

the Clerk’s Office using exact change, and shall not be mailed.

      The Clerk shall distribute restitution payments to the victims identified in

this order in accordance with the District’s Standing Order on the Disbursement of

Restitution Payments by the Clerk of Court.

      The defendant shall notify the Court, the United States Probation Office

(during any period of probation or supervised release), and the United States

Attorney’s Office, of any material change in the defendant’s economic circumstances

that might affect the defendant’s ability to pay restitution in accordance with 18

U.S.C. § 3664(k).

      The defendant shall notify the Court, the United States Probation Office

(during any period of probation or supervised release), and the United States

Attorney’s Office, of any change in address.

      Nothing in this order shall prevent the Bureau of Prisons from implementing

restitution payments in accordance with its Inmate Financial Responsibility

Program (“IFRP”), 28 U.S.C. § 545.10 et seq., up to the maximum amount permitted

under the IFRP guidelines.

      Furthermore, nothing in this order shall prevent the victims or the United

States from pursuing immediate collection through civil remedies allowed by law in

accordance with 18 U.S.C. § 3664(m).
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      The defendant shall apply to any restitution still owed the value of any

substantial resources from any source the defendant receives during the period of

incarceration, including inheritance, settlement or other judgment in accordance

with 18 U.S.C. § 3664(n).

      The liability to pay restitution shall terminate the later of 20 years from the

entry of judgment or 20 years after the defendant’s release from prison, or upon the

death of the defendant.

      It is so ordered.

      Dated at Bridgeport, Connecticut, this 24th day of October 2016.




                            _/s/ Stefan R. Underhill_________________
                            STEFAN R. UNDERHILL
                            UNITES STATES DISTRICT JUDGE
